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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES
                                                          Docket No. 24-mj-4561-DHH
            v.

 REBECCA FADANELLI


         ASSENTED-TO MOTION TO CONTINUE PRELIMINARY HEARING

       Now comes the defendant Rebecca Fadanelli with the assent of the government and moves

this Honorable Court to continue the Preliminary Hearing scheduled for November 14, 2024 to a

the next date convenient to the Court and the parties. In support thereof, undersigned counsel is

scheduled for an in-person hearing in the Boston courthouse that same day and requires time in

the morning to prepare, including meeting with the client in that case.

                                                      Respectfully Submitted,

                                                      REBECCA FADANELLI
                                                      By her attorney,

                                                      /s/ Joshua Hanye
                                                      Joshua Hanye
                                                      Federal Public Defender Officer
                                                      51 Sleeper Street, 5th Floor
                                                      Boston, MA 02210
                                                      (617) 223-8061
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                                      Certificate of Service

       I, Joshua Hanye, hereby certify that this document was this day filed through the ECF
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (“NEF”).


Date: November 6, 2024                                                /s/ Joshua Hanye
                                                                      Joshua Hanye
